Case 16-14111-amc         Doc 25     Filed 02/15/18 Entered 02/15/18 11:39:15            Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                         :
                                               :
         Scott L. Mielentz,                   :       Chapter 7
                                               :
                Debtor.                       :       Bankruptcy No. 16-14111amc
                                               :
                                               :


                              PRAECIPE TO CHANGE ADDRESS


To the Clerk:

         Please be advised that the correct street and mailing address for the above Debtor is:

                2660 Princeton Pike, Lawrenceville, NJ 08648

         Please change your records accordingly.




                                               /s/ Patricia M. Mayer
                                               Patricia M. Mayer, Esquire
                                               BELKNAP & MAYER, P.C.
                                               301 Oxford Valley Road, Suite 203B
                                               Yardley, PA 19067
                                               (215)493-4300
                                               Attorney for Debtor

Dated: February 15, 2018
